       Case 2:07-cr-00248-WBS Document 1018 Filed 10/31/11 Page 1 of 2


 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
 2 LAW OFFICES OF JAMES R. GREINER
   555 UNIVERSITY AVENUE, SUITE 290
 3 SACRAMENTO, CALIFORNIA 95825
   TELEPHONE:(916) 649-2006
 4 FAX: (916) 920-7951
 5   ATTORNEY FOR DEFENDANT
     ANDREA CADENA
 6
 7
 8                IN THE UNITED STATES DISTRICT COURT FOR THE
 9                        EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,      )               CR.-S-07-248-21 WBS
11                                  )
          PLAINTIFF,                )               STIPULATION AND PROPOSED
12                                  )               ORDER CONTINUING THE
          v.                        )               JUDGMENT AND SENTENCING
13                                  )               DATE TO
                                    )               MONDAY, APRIL 30, 2012
14                                  )
     ANDREA CADENA,                 )
15                                  )
          DEFENDANT.                )
16   _______________________________)
17
18         The parties, the United States of America, represented by Mr. Jason Hitt and
19   Mr. William Wong, and the defendant, Andrea Cadena, represented by Mr. James R.
20   Greiner, hereby agree and stipulate that the present date set for Judgment and
21   Sentencing, Monday, October 31, 2011, can be vacated by the Court.
22         The parties, the United States of America, represented by Mr. Jason Hitt and
23   Mr. William Wong, and the defendant, Andrea Cadena, represented by Mr. James R.
24   Greiner, hereby agree and stipulate that a new date of Monday, April 30, 2012, can be
25   set by the Court for the new Judgment and Sentencing date. Probation is in agreement
26   with this request.
27
28                                              1
      Case 2:07-cr-00248-WBS Document 1018 Filed 10/31/11 Page 2 of 2


 1
 2                               BENJAMIN B. WAGNER
                                 UNITED STATES ATTORNEY
 3
                                 /s/ Jason Hitt -by e mail authorization
 4   DATED: October 25, 2011     _____________________________________
                                 Jason Hitt
 5                               William Wong
                                 ASSISTANT UNITED STATES ATTORNEYS
 6                               ATTORNEY FOR THE PLAINTIFF
 7
 8                               RESPECTFULLY SUBMITTED
                                 LAW OFFICES OF JAMES R. GREINER
 9
                                 /s/ JAMES R. GREINER
10   DATED: October 25, 2011     ___________________________________
                                 JAMES R. GREINER
11                               ATTORNEY FOR DEFENDANT
                                 ANDREA CADENA
12
13                                     ORDER
14
15        FOR GOOD CAUSE SHOW, IT IS SO ORDERED.
16
17   DATED: October 28, 2011
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24
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28                                        2
